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                                            CA No. 23-991


                                                In the
                          United States Court of Appeals
                                    For the Ninth Circuit

                                 UNITED STATES OF AMERICA,

                                          Plaintiff-Appellant,

                                                    v.

                                      GREGORY PHEASANT,

                                         Defendant-Appellee.


                           On Appeal from the United States District Court
                                    for the District of Nevada,

                          District Court No. 3:21-cr-24 (Robert C. Jones, J.)


                               GOVERNMENT’S OPENING BRIEF


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                                                       I.

                          STATEMENT OF JURISDICTION AND BAIL STATUS
                    The government appeals the district court’s order dismissing the

             indictment against Defendant-Appellee Gregory Pheasant. ER-3–26. 1 The

             district court had jurisdiction under 18 U.S.C. § 3231. The district court issued

             the order of dismissal on April 26, 2023. ER-3. The Government filed a timely

             notice of appeal on May 23, 2023 . ER-223. This Court has jurisdiction under

             28 U.S.C. § 1291 and 18 U.S.C. § 3731.

                    Pheasant is not incarcerated.

                                                      II.

                                   ISSUE PRESENTED FOR REVIEW
                    Whether the district court erred by holding that 43 U.S.C. § 1733

             violates the nondelegation doctrine.

                                                      III.

                                  RELEVANT FEDERAL STATUTES

                    See Addendum




             1
                 “ER” denotes the government’s Excerpts of Record filed with this brief;
             “ECF No.” denotes the district court’s docket.

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                                                     IV.

                                      STATEMENT OF THE CASE
                    On July 15, 2021, the federal grand jury in the District of Nevada

             returned an indictment charging Pheasant with assault on a federal officer in

             violation of 18 U.S.C. §§ 111(a)(1) & (b) (Count 1), resisting issuance of

             citation or arrest in violation of 42 C.F.R. § 8365.1-4(a)(4) (Count 2), and

             failing to use required taillight at night in violation of 43 C.F.R. §§ 8341.1(f)(5)

             & (h) (Count 3). ER-221–23.

                    On March 17, 2023, Pheasant filed a motion to dismiss, arguing among

             other things that 43 U.S.C. § 1733 is unconstitutional under the nondelegation

             doctrine, and that the indictment lacked specificity. ER-160–184. He did not

             argue that Bureau of Land Management (“BLM”) rangers lack law

             enforcement authority. See id. He also filed a motion to suppress, requesting an

             evidentiary hearing. ER-192–208. On April 7, the government filed timely

             oppositions to the motion to dismiss and the motion to suppress. ER-123–145;

             ER-146–159.

                    On April 11, the district court issued a minute order, stating: “IT IS

             ORDERED that a Status Conference & Calendar Call is set for Thursday,

             April 13, 2023, [at which] the parties shall be prepared to discuss (1) Rule 16

             Amendments, (2) Scheduling a hearing date on the Motion to Suppress (ECF



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             No. 57 ) and Motion to Dismiss (ECF No. 59 ), and (3) Calendar Call for the

             trial set on 5/15/2023.” See ER-236 at 65 (emphasis added).

                    At that hearing, rather than discussing the scheduling of argument on the

             motions to dismiss and suppress, the court indicated that it wanted substantive

             argument on the issues raised in those motions. See ER-89–90 (defense counsel

             and government counsel stating they had interpreted the court’s order to be a

             scheduling conference, but that they would address the substantive arguments

             if the court wished, and the court saying it did want substantive argument).

                    Pheasant’s counsel argued that 43 U.S.C. § 1733 violated the

             nondelegation doctrine, and the court responded, “You’re just marching up a

             useless argument, counsel, and it will go nowhere either with this court or with

             the circuit.” ER-93–95. The court then asked “are BLM officers like forest

             service officers, statutory police officers in federal service, are they authorized

             to carry a weapon? Do they have arrest authority?” ER-95–96. Defense

             counsel responded that he did not know “off the top of his head[.]” ER-96. The

             court responded, “You better find out. Because that seems critical.” Id.

                    As the hearing continued, the government argued that 43 U.S.C. § 1733

             does not violate the nondelegation doctrine, and the court asked, “what is the

             status of a BLM officer, especially one who is using lights even on an ATV?”

             ER-99–100. The government responded, “I do know that they are sworn law


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             enforcement officers. They’re required to carry a weapon. Unfortunately, I

             don’t have the authority in front of me.” ER-100–101. The court then chided

             the parties for not being prepared to address an argument the court raised sua

             sponte just a few minutes earlier: “You guys on both sides, you need to further

             research this issue because your understanding is a little shallow. You know,

             that’s pretty critical, whether they have authority to require permits.” ER-102.

                    Turning to the specificity of the indictment, the court stated, “I need a

             bill of particulars that I can stand on and advise the jury.” ER-103. The

             government (AUSA Flake) stated that the government would provide a bill of

             particulars, and the court responded, “Okay. You should.” ER-103–104.

             ASUA St. Clair (who acted as the government’s lead counsel in district court),

             then clarified, “We were planning on superseding this indictment on April 27,

             and what I could do if the Court was okay with it, is I could actually add

             language. Rather than doing a separate document, I could add language to the

             assault charge when we supersede, if the Court would be fine with that, to add

             more factual language to support the assault.” ER-105. The court responded,

             “Probably so. It would be a good idea.” Id. AUSA St. Clair then reiterated,

             “[W]e have scheduled a grand jury in Reno on April 27. That is our plan.” ER-

             106. The court responded, “That’s a safe route.” Id.




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                    With respect to the motion to suppress, the court denied Pheasant’s

             request for an evidentiary hearing. ER-115. The court then said, “I am

             requiring a bill of particulars on Count 1. Count 2 and 3, you’re going to issue

             another superseding indictment, and we’ll revisit these issues when you do, if

             you base it solely on the regulations, and we’ll go from there.” ER-116. AUSA

             St. Clair responded, “[W]hat I was discussing earlier was instead of doing a bill

             of particulars, we were going to now, also, in our superseding indictment we

             will add language to Count 1 that may … negate the need for a bill of

             particulars.” Id. The court responded, “We’ll see if defense agrees.” Id.

             Defense counsel responded, “[W]e’ll review the superseding indictment when

             it’s handed down. If we think there’s a deficiency, we’ll take the appropriate

             action.” Id.

                    Defense counsel then asked if he could file a reply in support of the

             motion to dismiss, and the court responded: “No. You’re going to want to file

             a new motion to dismiss. I’ve already told you, you’re barking up the wrong

             tree. So you’re going to want to file a new motion to dismiss. Okay?” ER-116–

             117. With respect to the trial going forward as scheduled on May 15, the court

             then asked the government, “Can you get a bill of particulars on trial or a

             superseding indictment?” ER-117. AUSA St. Clair responded, “Unfortunately,

             Your Honor, we cannot get a superseding indictment until April 27th.” Id. The


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             court then stated, “Okay. May 15th is the trial date, folks. You’re required to

             do a bill of particulars or supersede the indictment.” ER-118.

                    On April 14, Pheasant filed a motion for leave to file a reply in support

             of his motion to dismiss and the proposed reply, ER-51–69, and the minute

             order on the district court’s docket required the government to respond by

             April 28. ER-237 at ECF No. 69.

                    On April 18, Pheasant filed a supplemental motion to dismiss, following

             the court’s lead and arguing for the first time that BLM officers lack the

             authority to enforce federal law and that, therefore, assaulting them could not

             violate 18 U.S.C. §§ 111(a)(1) & (b). ER-27–35. The minute order

             memorializing the filing of the supplemental motion on the court’s docket did

             not include a response date. See ER-237 at ECF No. 74. Therefore, the time to

             respond was governed by Federal District of Nevada Local Criminal Rule 12-

             1(a)(2), which states that unless otherwise ordered by the court, a response to a

             pretrial motion must be filed within 14 days of the service of the motion, i.e.,

             May 1.

                    Eight days later, on April 26—before the government filed a response to

             Pheasant’s motion seeking leave to file a reply (which response was due April

             28), before the government filed a response to Pheasant’s supplemental motion

             (which response was due May 1), and one day before the government was able


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             to seek a superseding indictment (which the government specifically informed

             the court it was planning to do on April 27)—the court issued an order

             dismissing the case. ER-3–26. Specially, it held that Counts 1 and 2 were

             defective because BLM rangers lacked law enforcement authority; that Counts

             2 and 3 were defective because 43 U.S.C. § 1733 violates the nondelegation

             doctrine; and that Counts 1 and 2 were defective because the indictment was

             insufficiently specific. ER-9.

                    The government filed a timely notice of appeal on May 23, 2023. ER-

             223.

                                                     V.

                                     STATEMENT OF THE FACTS

                    On May 28, 2021, at approximately 9:45 p.m., BLM Ranger Michael

             Yost was patrolling the Moon Rocks recreation area, which is on BLM land,

             in a fully marked BLM Utility Terrain Vehicle (“UTV”) equipped with

             emergency lights and siren.2 ER-187 (Yost Incident Report). He saw two

             motorcycles driving with no working/activated red taillights. Id. Ranger Yost

             later determined that Pheasant was driving one of these motorcycles. Id.

             Ranger Yost activated his lights and siren on his UTV and got behind the



             2
                  Ranger Yost noted in his report that sunset on May 28, 2021, was at
             approximately 9:31 p.m. ER-187.

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             motorcyclists. Id. Both motorcyclists failed to yield—turning off the road and

             continuing cross-country away from Ranger Yost’s UTV. Id. Ranger Yost

             attempted to follow by turning off the road onto a trail when Pheasant turned

             around and rode his motorcycle directly at Yost, almost hitting him, before

             riding away. Id.

                    At about 10 p.m., Ranger Yost saw Pheasant and another motorcyclist

             still driving without rear taillights illuminated. Id. Ranger Yost again activated

             his emergency lights and siren, and again neither motorcyclist stopped. Id.

             Ranger Yost followed behind both motorcyclists while they were “flipping

             [him] off” and “quickly accelerating, causing their tires to spin and send rocks

             and dirt at [him] and others in the area,” and yelling expletives at him. Id.

                    Approximately five minutes later, Ranger Yost saw Pheasant and

             another motorcyclist heading in Ranger Garrett Sarcinella’s direction and

             immediately notified him. ER-187, 190. Ranger Sarcinella activated his lights

             behind the motorcyclists, but Pheasant quickly turned off the road to the south,

             and Ranger Sarcinella followed him. Id. Eventually, Pheasant turned right in

             front of Ranger Sarcinella and broke traction on the road, only to speed off

             again. ER-190.

                    Ranger Sarcinella followed and attempted to stop Pheasant again. Id.

             Pheasant was not moving fast, but during this slow elude, he turned around on


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             his bike while gesturing with his middle finger towards Ranger Sarcinella and

             yelled, “[F]uck you pig.” Id. Ranger Sarcinella continued to drive behind

             Pheasant with his lights activated. ER-187. Pheasant then quickly applied his

             brakes and stopped right in front of Ranger Sarcinella’s UTV, forcing

             Sarcinella to lock up his UTV’s brakes and nearly caused a collision. ER-190.

                    At this point, Pheasant’s motorcycle and Ranger Sarcinella’s UTV were

             stopped, with the rear wheel of the motorcycle just in front of the UTV. ER-

             190–191. The UTV’s emergency lights were still illuminated. ER-190.

             Pheasant looked over his shoulder at Ranger Sarcinella and twisted the

             motorcycle’s throttle, spraying Ranger Sarcinella’s face with rocks and dirt.

             ER-191.3 While Ranger Sarcinella was wincing in pain and temporarily

             disoriented, Pheasant sped off once again. Id.

                    Meanwhile, Ranger Yost drove to the top of a hill to see if he could spot

             Pheasant again, saw Pheasant failing to yield when Ranger Sarcinella tried to

             stop him, saw him drive towards the Moon Rocks pit, and followed him. ER-

             187. To remain undetected, Ranger Yost chose not to activate his emergency

             lights, pulled his UTV up to Pheasant and the other motorcyclist, quickly got

             out and stuck his baton through the spokes of Pheasant’s front motorcycle




             3
                    In the motocross community, this is known as “roosting” someone. Id.

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             wheel, preventing Pheasant from riding off. Id. With his motorcycle

             immobilized, Pheasant continued verbally abusing Ranger Yost for several

             minutes, but eventually asked him to write him a “ticket” for the taillight

             violation, which Yost did. Id.

                                                     VI.

                                     SUMMARY OF ARGUMENT
                    Congress has delegated the authority to manage federal lands to the

             Secretary of the Interior. In so doing, it provided the Secretary with an

             intelligible principle to cabin her authority and set forth policies to guide her

             management of the public lands. The Supreme Court and this Court have

             repeatedly upheld similar grants of authority, and the district court’s decision

             to invalidate Congress’s grant of authority here runs afoul of those precedents.

             Because that was the sole basis for the court dismissing Count 3, this Court

             should reverse the district court’s dismissal of that count and hold that 43

             U.S.C. § 1733(a) is constitutional.4



             4
                    The court alternatively dismissed Counts 1 and 2 because they were
             insufficiently pleaded and because the rangers lacked the authority to enforce
             the law. ER-24. Because the government agreed to file a superseding
             indictment, ER-76 (something to which, the government believed at the time,
             the court had agreed, and indeed, which the court explicitly ordered the
             government to do, ER-116), the government does not contest that those counts
             were insufficiently pleaded. The government disagrees with the district court’s


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                                                      VII.

                                                ARGUMENT

             A.     Standard of Review
                    This Court reviews de novo a district court’s determination that a

             statutory regime violates the nondelegation doctrine. United States v. Chi Tong

             Kuok, 671 F.3d 931, 937 (9th Cir. 2012).

             B.     The District Court Erred in Determining that 43 U.S.C. § 1733
                    Violates the Nondelegation Doctrine.
                    1.      Analytical Framework

                    Congress has the power to “make all needful Rules and Regulations

             respecting the Territory or other Property belonging to the United States….”

             United States Constitution, Article 4, § 3. The Supreme Court has generally

             viewed Congress’s power to interpret what is “needful” expansively. See, e.g.,

             Kleppe v. New Mexico, 426 U.S. 529 (1976) (upholding Congress’s power to pass

             legislation regarding wild burros); see also United States v. San Francisco, 310 U.S.

             16 (1940) (upholding Congress’s power to pass legislation granting San



             conclusion that the rangers lack law enforcement authority, but because the
             lack of specificity serves as an independent basis to dismiss Counts 1 and 2, it
             likewise does not raise, in this appeal, the issue of the rangers’ law enforcement
             authority. When the government obtains another indictment against Pheasant,
             if the district court once again dismisses Counts 1 and 2 on the basis that
             rangers lack the authority to enforce federal law, the issue of the BLM rangers’
             law enforcement authority will be ripe and the government will determine at
             that time whether to appeal that ruling.

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             Francisco lands and rights-of-way with certain prohibitions); Camfield v. United

             States, 167 U.S. 525 (1897) (upholding Congress’s power to pass legislation

             regarding unlawful occupancy on public lands). As indicated in Kleppe, the

             Supreme Court interprets Congress’s authority on public lands as similar to a

             state’s police power. See Kleppe, 426 U.S. at 540 (“The general government

             doubtless has a power over its own property analogous to the police power of

             the several states, and the extent to which it may go in the exercise of such

             power is measured by the exigencies of the particular case…. In short,

             Congress exercises the powers both of a proprietor and of a legislature over the

             public domain.”) (citations, quotations, and alterations omitted).

                    The nondelegation doctrine generally forbids Congress from transferring

             “powers which are strictly and exclusively legislative” to other branches of

             government. Gundy v. United States, 139 S. Ct. 2116, 2123 (2019) (internal

             citation omitted). But the Supreme Court has consistently held that Congress

             “may ‘obtain[ ] the assistance of its coordinate Branches’—and in particular,

             may confer substantial discretion on executive agencies to implement and

             enforce the laws.” Id. (quoting Mistretta v. United States, 488 U.S. 361, 372

             (1989)) (alterations in Gundy). It has further recognized that “in our

             increasingly complex society, replete with ever changing and more technical

             problems … Congress simply cannot do its job absent an ability to delegate


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             power under broad general directives.” Mistretta, 488 U.S. at 372. For that

             reason, the Supreme Court has clarified that a delegation is “constitutionally

             sufficient if Congress clearly delineates” (1) “the general policy” to be pursued,

             (2) “the public agency which is to apply it,” and (3) “the boundaries of th[e]

             delegated authority.” American Power & Light Co. v. Securities & Exchange

             Commission, 329 U.S. 90, 104 (1946); see also United States v. Melgar-Diaz, 2

             F.4th 1263, 1267 (9th Cir. 2021) (“This means that a delegation is permissible

             if Congress has made clear to the delegee the general policy [the delegee] must

             pursue and the boundaries of [the delegee’s] authority.”) (citations, quotations,

             and alterations omitted).

                    A court engaged in a nondelegation inquiry must look to the challenged

             statute to determine what task it delegates and what instructions it provides.

             Gundy, 139 S. Ct. at 2123. “[A] nondelegation inquiry always begins (and

             often almost ends) with statutory interpretation. The constitutional question is

             whether Congress has supplied an intelligible principle to guide the delegee’s

             use of discretion. So the answer requires construing the challenged statute to

             figure out what task it delegates and what instructions it provides.” Id.

             (citations omitted).

                    “These standards are not demanding,” and the Supreme Court has

             “repeatedly turned down many non-delegation challenges, including in cases


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             involving very broad conferrals of authority.” Id. at 1267. For example, the

             Supreme Court has upheld the delegation of broad conferrals of authority to

             regulate “in the public interest,” National Broadcasting Co. v. United States, 319

             U.S. 190, 226 (1943), to set “fair and equitable prices,” Yakus v. United States,

             321 U.S. 414, 426 (1944), to set “just and reasonable rates,” Fed. Power

             Commission v. Hope Natural Gas Co., 320 U.S. 591, 611 (1944), and to issue air

             quality standards that are “requisite to protect the public health.” Whitman v.

             American Trucking Associations, 531 U.S. 457, 475-76 (2001); see also Mistretta,

             488 U.S. at 374–77 (upholding delegation to the Sentencing Commission to

             promulgate then-binding Sentencing Guidelines establishing the permissible

             sentences for federal crimes); Touby v. United States, 500 U.S. 160, 165–67

             (1991) (upholding delegation to the Attorney General to designate controlled

             substances on a temporary basis, resulting in criminal penalties for

             unauthorized manufacture, possession, or distribution of such substances).

                    In United States v. Cassiagnol, 420 F.2d 868, 876 (4th Cir. 1970), the

             defendant challenged 40 U.S.C. § 318 (now § 1315), which authorizes the

             Administrator of General Services to establish rules and regulations “as to

             government property under its charge and control.” Id. at 876. In rejecting the

             defendant’s nondelegation argument, the Fourth Circuit explained:




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                    It is clear that Congress has constitutional power to “make all
                    needful Rules and Regulations” concerning government property.
                    Under such constitutional authority Congress delegated the
                    authority to make regulations governing the operation,
                    maintenance and use of government property to the GSA
                    Administrator. Such authority necessarily had to be somewhat
                    general in nature due to the vast number and great variety of
                    properties entrusted to the charge and control of GSA, but this
                    authority, contrary to appellants’ contention, was not unlimited.
                    GSA was given physical control and custody of a wide variety of
                    public buildings in and out of the District of Columbia, including
                    courthouses, customhouses, barge offices and office buildings. The
                    function exercised in relation to such property is essentially one of
                    maintaining, operating and protecting buildings and grounds for the
                    uses for which they have been designated. Congress fixes the
                    governmental purpose of a particular piece of property and limits
                    the GSA Administrator’s power to make ‘needful rules and
                    regulations’ to maintain and protect such property and ensure its
                    use for the authorized purpose. To require Congress specifically to
                    enumerate GSA’s duties would be to require the impractical, if not
                    the impossible. Similar grants of general regulatory and
                    administrative authority are common, e.g., national parks, national
                    military parks and battlefields, national forests, watersheds, etc. It is
                    reasonable and constitutional to delegate to the agency charged with
                    maintenance and protection of government property the right to fix
                    the hours and places where the property may be entered by the
                    public, as well as minimum acceptable conduct thereon, and to
                    provide for the punishment of those violating such regulations.
             Id. at 876–77 (footnotes omitted).

                    The Fourth Circuit and district courts in this Circuit continue to rely on

             Cassiagnol in rejecting nondelegation challenges. See United States v. Moriello,

             980 F.3d 924, 932 (4th Cir. 2020); United States v. Kittel, 2021 WL 3823185, at

             *5 (D. Or. Aug. 26, 2021) (unpublished); United States v. Mumford, 2017 WL




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             652449, *4 (D. Or. Feb. 16, 2017) (unpublished); United States v. Cruscial, 2019

             WL 1087150, at *3 n.3 (D. Or. Mar. 7, 2019) (unpublished).

                    “Only twice in this country’s history (and that in a single year) has the

             Supreme Court found a delegation excessive ....” Gundy, 139 S. Ct. at 2129

             (citing A.L.A. Schechter Poultry Corp. v. United States, 295 U.S. 495 (1935), and

             Panama Refin. Co. v. Ryan, 293 U.S. 388 (1935)) (other citations, quotations,

             and alterations omitted).

                    2.      Argument

                    The delegation at issue here satisfies all three factors identified by the

             Supreme Court in American Power & Light. Section 1733(a) provides that “the

             Secretary shall issue regulations necessary to implement the provisions of this

             Act with respect to the management, use, and protection of the public lands.”

             43 U.S.C. § 1733(a).

                    In Section 1733(a), Congress identified the Secretary of the Interior as

             the executive authorized to exercise the delegated authority, and specifically

             delineated the subject the Secretary is authorized to address: implementation of

             the Federal Land Policy and Management Act of 1976, 43 U.S.C. § 1701 et seq.




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             (“FLPMA”) with respect to the management, use, and protection of public

             lands.5

                    FLPMA sets the boundaries of the delegated authority. Congress granted

             the Secretary authority to promulgate and enforce regulations in order to

             facilitate her implementation of the mandate, set forth in FLPMA, to “manage

             the public lands under principles of multiple use and sustained yield,” 43

             U.S.C. § 1732(a), and “to prevent unnecessary or undue degradation of the

             lands,” id. § 1732(b). Congress also defined the terms “multiple use” and

             “sustained yield,” id. § 1702(c), (h), thereby providing significant detail as to

             how the Secretary, through the BLM, should execute Section 1732(a)’s broad

             mandate.

                    Other FLPMA provisions also delineate the boundaries of the mandate

             set out in 43 U.S.C. § 1732. Section 1712(c) sets the criteria that the BLM must

             account for in the specific context of developing and revising land use plans, id.

             § 1712(c), and Section 1761 identifies the purposes for which the BLM may




             5
                    The taillight regulations at issue in this case, 43 C.F.R. §§ 8341.1(f)(5)
             and (h), were promulgated by the Secretary of the Interior pursuant to the
             grant of authority in Section 1733(a). Under the district court’s reasoning that
             Section 1733 is unconstitutional, every regulation issued by the Secretary
             pursuant to that section is invalid. The district court’s order dismissing the case
             samples some of the regulations which, under the court’s reasoning, would
             now be invalid. ER-16.

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             issue rights-of-way, all of which further refines and directs the BLM’s

             implementation of Section 1732(a).

                    Moreover, Congress, in passing FLPMA, made clear the “general

             policy” that the BLM was to follow in exercising its authority under the

             statute, including Section 1733(a). See Gundy, 139 S. Ct. at 2129. In addition to

             the statutory direction in Sections 1732 and 1712, Section 1701 provides

             guidance as it “declares … the policy of the United States” with respect to the

             public lands. 43 U.S.C. § 1701. Among other things, it provides--consistent

             with Section 1732(a)—that the public lands’ “management be on the basis of

             multiple use and sustained yield,” § 1701(a)(7), and “in a manner which

             recognizes the Nation’s need for domestic sources of minerals, food, timber,

             and fiber from the public lands.” § 1701(a)(12). It additionally articulates

             federal policy that “the public lands be managed in a manner that will protect

             the quality of scientific, scenic, historical, ecological, environmental, air and

             atmospheric, water resource, and archeological values,” including

             “preserv[ing] and protect[ing] certain public lands in their natural condition,”

             “provid[ing] food and habitat for fish and wildlife and domestic animals, and

             “provid[ing] for outdoor recreation and human occupancy and use.” §

             1701(a)(8).




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                    Regulations issued pursuant to Section 1733(a) with respect to the

             management, use, and protection of the public lands must further FLPMA’s

             statutory commands to manage under principles of multiple use and sustained

             yield and to prevent unnecessary or undue degradation and are guided by

             FLPMA’s policy declarations. Taking those provisions together, it is clear that

             Congress, through FLPMA, has provided an intelligible principle limiting the

             Secretary’s authority. Accordingly, Section 1733(a) constitutes a permissible

             delegation of authority and falls squarely within the bounds of similar,

             previously upheld delegations cited above.

                    Courts have rejected unlawful delegation claims seeking to invalidate

             similar statutes delegating authority to the Secretary of Agriculture concerning

             National Forests, 16 U.S.C. § 551, and to the Secretary of the Interior

             concerning National Parks, 16 U.S.C. § 3 (repealed).

                    For example, in United States v. Grimaud, 220 U.S. 506 (1911),

             individuals charged with grazing animals in noncompliance with United States

             Forest Service regulations in a National Forest argued that the authority

             delegated to the Secretary of Agriculture was an unlawful delegation of

             legislative power. The Supreme Court rejected that argument, stating,

                    In the nature of things it was impracticable for Congress to provide
                    general regulations for these various and varying details of
                    management. Each reservation had its peculiar and special features;
                    and in authorizing the Secretary of Agriculture to meet these local

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                    conditions, Congress was merely conferring administrative
                    functions upon an agent, and not delegating to him legislative
                    power.
             Id. at 516. It further explained,

                    The Secretary of Agriculture could not make rules and regulations
                    for any and every purpose… [The rules and regulations at issue
                    here] all relate to matters clearly indicated and authorized by
                    Congress. The subjects as to which the Secretary can regulate are
                    defined. The lands are set apart as a forest reserve. He is required to
                    make provision to protect them from depredations and from
                    harmful uses. He is authorized “to regulate the occupancy and use
                    and to preserve the forests from destruction.” A violation of
                    reasonable rules regulating the use and occupancy of the property is
                    made a crime, not by the Secretary, but by Congress. The statute,
                    not the Secretary, fixes the penalty.
             Id. at 522 (citation omitted).

                    Likewise, in United States v. Brown, 552 F.2d 817 (8th Cir. 1977), the

             Eighth Circuit upheld conviction of a defendant who possessed a loaded

             firearm and hunted in a National Park in violation of Interior regulations,

             despite a constitutional challenge. There, the Eighth Circuit held that Congress

             validly delegated authority to the Secretary of the Interior pursuant to the

             property clause. See id. at 822–23 and n. 8 (“The National Park Service Act

             allows the Secretary of the Interior to promulgate ‘such rules and regulations as

             he may deem necessary or proper for the use and management of the parks.’ 16

             U.S.C. § 3 [(repealed)]. The regulations prohibiting hunting and possession of

             a loaded firearm were promulgated pursuant to that authority, 36 C.F.R. §§



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             2.11 and 2.32, and are valid prescriptions designed to promote the purposes of

             the federal lands within the national park. Under the Supremacy Clause the

             federal law overrides the conflicting state law allowing hunting within the

             park.”) (footnotes omitted).6

                    In assessing the validity of Congress’s delegation to the Secretary here,

             the district court purported to apply the Gundy intelligible principle test,

             holding:

                    The statute does not provide any guidance or restraint as to when
                    the Secretary of the Interior shall promulgate rules. Instead, the
                    Secretary of the Interior can promulgate rules whenever it is
                    “necessary.” There is no limiting language to provide the Secretary
                    of the Interior with any considerations regarding when regulations
                    are necessary. Instead, the words “management, use, and
                    protection” serve as the limiting words. But, the words
                    “management, use, and protection” do not limit the authority to


             6
                    The grant of authority at issue in Brown, 16 U.S.C. § 3, has since been
             repealed and replaced by other statutes. But Brown remains persuasive because
             it holds that the broad language in that statute did not violate the non-
             delegation doctrine. The statute read in part:

                    The Secretary of the Interior shall make and publish such rules and
                    regulations as he may deem necessary or proper for the use and
                    management of the parks, monuments, and reservations under the
                    jurisdiction of the National Park Service, and any violation of any
                    of the rules and regulations authorized by this section and sections
                    1, 2, and 4 of this title shall be punished by a fine of not more than
                    $500 or imprisonment for not exceeding six months, or both, and be
                    adjudged to pay all cost of the proceedings.
             16 U.S.C. § 3 (repealed).


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                    promulgate regulations because those words cover almost all
                    conduct on public lands. That language has allowed the Secretary
                    of the Interior to promulgate a plethora of rules from housing
                    policies, to traffic laws, to firearms regulations, to mining rules, to
                    agriculture certifications. That means that the Secretary of the
                    Interior has unfettered legislative authority to promulgate rules for
                    over 48 million acres of land, which is 68% of the state of Nevada.
             ER-14–15 (citations and footnotes omitted).

                    In reaching this conclusion, the district court here relied on Justice

             Gorsuch’s concurrence in Gundy and Judge Tymkovich’s dissent in Aposhian v.

             Wilkinson, 989 F.3d 890, 900 (10th Cir. 2021), ER 16, neither of which control,

             and both of which construed different statutes.7

                    The district court made no meaningful attempt to distinguish Cassiagnol

             based on the statutory language or application of the nondelegation doctrine.




             7
                    The district court also cited Jarkesy v. Sec. & Exch. Comm'n, 34 F.4th 446,
             461 (5th Cir. 2022), stating, “Congress gave the SEC a significant legislative
             power by failing to provide it with an intelligible principle to guide its use of
             the delegated power.” ER-13 (parentheses omitted). That case likewise does
             not support the conclusion that the statute at issue here lacks an intelligible
             principle. In Jarkesy, the Fifth Circuit held that Congress “effectively gave the
             SEC the power to decide which defendants should receive certain legal
             processes (those accompanying Article III proceedings) and which should not,
             [but] [s]uch a decision—to assign certain actions to agency adjudication—is a
             power that Congress uniquely possesses.” Id. at 462. The statute at issue here,
             43 U.S.C. § 1733, does no such thing. Moreover, on June 23, 2023, the
             Supreme Court granted the SEC’s cert. petition, and the case is still pending
             there. See Sec. & Exch. Comm’n v. Jarkesy, 143 S. Ct. 2688 (2023) (cert. grant).



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             ER-18–19. Rather, the district court suggested that citizens have inherently

             more rights on “public” land compared to government-owned buildings and

             thus the management of BLM land and GSA buildings are different. ER-22.

             But FLPMA defines “public lands” as “any land and interest in land owned by

             the United States within the several States and administered by the Secretary of

             the Interior through the Bureau of Land Management.” 43 U.S.C. § 1702(e).

             Individuals may do certain things on BLM-managed land that they cannot do

             in GSA buildings because then BLM allows them to do so consistent with

             Congress’s direction. For instance, while the district court pointed to the fact

             that citizens can drive off-road vehicles on BLM-managed land but not on

             GSA property, ER-16, the BLM can—and does—regulate the driving of off-

             road vehicles on its land. See, e.g., 43 C.F.R. § 8341.1 (setting forth

             requirements for off-road vehicle drivers and prohibiting driving on “areas and

             trails closed to off-road vehicle use”).

                    The district court also reasoned that the BLM manages a greater amount

             of land than GSA. ER-19. To the extent that distinction has any logical

             relevance, it would place Congress’s grant of authority to the Secretary on

             firmer footing: if the amount of property managed by the GSA supported a

             broad delegation of authority, the far greater amount of land administered by

             the BLM—and the fact that the BLM is required to administer that land under


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             a wide-ranging, “multiple use” mission, 43 U.S.C. § 1732(a) —supports an

             even broader delegation. The grant of authority from Congress to the BLM is

             necessarily broad. The court erred by rejecting this argument. ER-19.

                    In parts of its opinion, the district court also incorrectly suggested that

             the nondelegation problem hinged on the Secretary’s authority to issue

             regulations carrying criminal penalties and that the criminal context requires or

             justifies imposing more stringent limits on Congress’s authority to delegate.

             ER-16–17. But the Supreme Court has long rejected the proposition that

             Congress lacks Article I authority to authorize Executive agencies to issue

             regulations, the violation of which Congress itself makes a crime. See, e.g.,

             Grimaud, 220 U.S. at 522 (“[a] violation of reasonable rules regulating the use

             and occupancy of the property is made a crime, not by the Secretary, but by

             Congress. The statute, not the Secretary, fixes the penalty.”); Loving v. United

             States, 517 U.S. 748, 768 (1996) (“We have upheld delegations whereby the

             Executive … defines by regulation what conduct will be criminal, so long as

             Congress makes the violation of regulations a criminal offense and fixes the

             punishment, and the regulations ‘confine themselves within the field covered

             by the statute.’”) (quoting Grimaud, 220 U.S. at 518) (brackets omitted).

                    In short, this is not a case “in which applying the rarely invoked non-

             delegation doctrine would be appropriate.” Melgar-Diaz, 2 F.4th at 1267; see id.


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             1266–67 (“[p]revailing on a non-delegation challenge is thus a tall order” and

             the standards for a permissible delegation are “not demanding”). This Court

             should reverse the district court’s holding with respect to the nondelegation

             doctrine, and reinstate Count 3.

                                                   VIII.

                                             CONCLUSION

                    For the reasons stated above, the United States respectfully requests that

             this Court reverse the district court’s order dismissing Count 3.

                    Dated this 17th day of November, 2023.

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                                                    IX.

                                 STATEMENT OF RELATED CASES
                    The government is not aware of any related cases.

             Dated this 17th day of November, 2023.



                                                          s/ Adam Flake
                                                          ADAM FLAKE
                                                          Assistant United States Attorney




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                        CERTIFICATE OF COMPLIANCE PURSUANT TO
                       FED. R. APP. P. 32(a)(5), (6) AND CIRCUIT RULE 32-1

                    I hereby certify that:

                    Pursuant to Fed. R. App. P. 32(a)(5) and (6) and Ninth Circuit Rule 32-

             1, the attached GOVERNMENT’S OPENING BRIEF is proportionately

             spaced, has a typeface of 14 points, and contains 5,625 words, excluding the

             portions exempted by Fed. R. App. P. 32(f).

                    Dated this 17th day of November 2023.

                                                           s/ Adam Flake
                                                           ADAM FLAKE
                                                           Assistant United States Attorney




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